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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                          Chapter 11

 MALLINCKRODT PLC, et al.,                       Case No. 20-12522 (JTD)
                                                 (Jointly Administered)
                        Debtors.

 City of Marietta,

                 Appellant,                      Civil Action No. 1:21-cv-01155-TLA

           v.

 Mallinckrodt plc, et al.,

                 Appellee.


                   JOINT PROPOSED AMENDED BRIEFING SCHEDULE

          Appellant the City of Marietta (“Appellant”) and Appellees Mallinckrodt plc and its

affiliated debtors in possession in the above-captioned cases (“Appellees”), by and through

undersigned counsel, hereby respectfully request the following this Court approve the following

amendments to the current briefing schedule ordered by this Court on April 26, 2022 [ECF 21]:

       Brief to be Filed               Current Deadline         Proposed Amended Deadline
  Appellant’s Opening Brief             June 20, 2022               September 20, 2022
  Appellees’ Opposition Brief            July 20, 2022               October 20, 2022
   Appellant’s Reply Brief              August 4, 2022              November 4, 2022


Dated: June 15, 2022

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